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U'NITED STATES DISTRICT COURT
Western District of Tennessee

UNITED STATES OF AMERICA
Plaintiff,

 

VS. Case Number 2:02CR20480-O2~Ml

ADAM HOGELAND
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November l, 1987)

The defendant, Adam Hogeland, was represented by Robert Irby, Esq.

The defendant, having been convicted of violation of 21 U.S.C. 846, Conspiracy to
Manufacture a Controlled Substance on June 12, 2003, was sentenced to a term of eighteen
(18) months in the Bureau of Prisons and a term of three (3) years on Supervise Release
in the above styled cause, has violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau

of Prisons to be imprisoned for a term, of twenty-one (21) months to be served
consecutively with state sentence in case XX-XXXXXXX out of Madison County, TN.

The Court recommends to the Bureau of Prisons that the defendant obtain his General
Equivalency Diploma (G.E.D.) while incarcerated.

FURTHERMORE, the Court hereby vacates the previously imposed period of Supervised
Release.

The defendant is remanded to the custody of the United States Marshal.

Signed this the é;L day of May, 2005.

_YW

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

 

U.S. Marshal No.: 18644-076

Defendant's SS NO.: 413~47-6243
Defendant's pate of sirth= 08/27/1984 W
Defendant's Mailinq Address: 233 Stardust, Ripley, TN 38063

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Notice of Distribution

This notice confirms a copy of the document docketed as number 102 in
case 2:02-CR-20480 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

